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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT (}F CALIFORNIA

SAN JOSE DIVISION

FINJAN, INC., a Delaware Corporation,,
Plaintiff,
v.

BLUE COAT SYSTEMS LLC, a Delaware
Corporation,

Defendant.

 

 

 

VERDICT FORM
15-cv-0329§-BLF-SVK

Case NO.: lS-cv-03295-BLF~SVK
VERDICT FORM

 

 

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VERDICT FORM
When answering the following questions and filling out this Verdict Form, please follow
the directions provided throughout this Verdict Form. Your answer to each question must be
unanimous Some of the questions contain legal terms that are defined and explained in detail in
the Jury lnstructions. Please refer to the Jury Instructions if you are unsure about the meaning or
usage of any legal term that appears in the questions below.
We, the jury, unanimously agree to the answers to the following questions and return them

under the instructions of this court as our verdict in this case.

VERDICT FORM 1
15-cv-03295-BL.F-SVK

 

 

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§!UESTION 1: Did Finjan prove by a preponderance of the evidence that Blue Coat’s

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product or combination of products as identified below literally infringes the identified claim or
claims of` the Asserted Patents? Answer “Yes” or “No” for each cfaim.
’844 Patent _
Clairn 15
' GIN/WebPuise _
‘494 Pateht .
- GrN/Webpuise Cla““ 10 _
‘731 Patent
Claim 1
- ASG with MAA iii
‘968 Patent
Cl ' 1 jj
- ASG With MAA aim d’
‘408 Patent Cl , 22 )
alm
- Wss with GlN/webPulse _L\'Q~
‘621 Patent Claim l MO
'¢ GIN/WebPulse
Claim 10 AZO
For each claim you did not find literally inf`ringed, answer Question 2.
VERDICT FORM 2

lS-cv-03295~BLF-SVK

 

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§!UESTION 2: For any patent claim you did not find Blue Coat literally infringed in
Question l, did Finjan prove by a preponderance of` the evidence that Blue Coat’s product or

combination of products as identified below infringes the identified claim or claims under the

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doctrine of equivalents? Answer “Yes” or “No” for each claim.

 

 

 

 

 

 

 

 

 

’844 Patent '
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l GIN/WebPuise
‘494 Patent .
- GlN/WebPulse Clalm 10
‘731 Patent '
‘ Clann 1
- ASG wlth MAA
‘968 Patent -
_ Claim l
- ASG Wlth MAA `
‘621 Patent c1aim1 ida
n G[N/WebPulSe
Claim 10 _LLG_
VERDICT FORM 3

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QUESTION 3: For only those Asserted Patents for which you found infringement in
Question l or Que`stion 2 above, has Finjan proven by a preponderance of the evidence that Blue

Coat willfully infringed the patent? Answer “Yes” or “No” for each patent.

 

 

 

 

 

 

 

 

 

 

’844 Patent Yes _____ No _

’494 Patent Yes _ No __

’731 Patent Yes __m__ No wm

’968 Patent Yes ___ No _M

’403 Patent Yes _ No …

’621 Patent Yes _ No _____
VERDICT FORl\/l 4

15-cV-03295-BLF-SVK

 

 

 

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Answer Question 4 only if you have found one or more claims of the Asserted Patents to
be infringed in Questions 1 or 2 above.

QUESTION 4: What sumr of money do you find that Finjan has proven by a
preponderance of the evidence would fairly and reasonably compensate Finjan for Blue Coat’S

infringement of Finjan’s Asserted Patents for the life of each of the patents?

 

’844 Patent $

 

’494 Patent $

'731Parenc $ 13 b, eng
’968 Patent $ 30 “i, Q 0 0

’403 Patent $

 

 

 

 

 

 

 

’621 Patent $

 

You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations The Presiding Juror should then sign and date
the verdict form in the spaces below and notify the Security Guard that you have reached a
verdict. The Presiding Juror should retain possession of the verdict form and bring it when the
jury is brought back into the courtroom.

DATED: [Ud\/ 29 ,2017 By: stg)Qrc<»/ MA_QL bass

Presiding Juror y

VERDiCT FORM 5
15-cv-03295-BLF-SVK

 

 

